       Case 1:22-cv-04259-SDG Document 109-1 Filed 10/20/23 Page 1 of 1


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA

                                               )
______________________________,
MARK ANDREWS                                   )
                           Plaintiff(s)        )
                                               )      Case No. 1:22-CV-4259-SDG
                V.                             )
                                               )
______________________________,
DINESH D'SOUZA, et al                          )
                      Defendant(s)             )


                      NOTICE OF FILING OF OFFICIAL TRANSCRIPT

        Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above-captioned matter. Counsel/Parties have twenty-one (21)
days from the date of delivery of the transcript to the Clerk to file with the Court a Request for
Redaction of this transcript. If no Request for Redaction is filed, the transcript may be made
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       Any counsel or party needing a copy of the transcript to review for redaction purposes
may purchase a copy from the court reporter/transcriber or view the document at the Clerk’s
Office public terminal.
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                        Date                          Court Reporter


                     VERIFICATION OF FINANCIAL ARRANGEMENTS

       Proceeding Type:       ______________________________________________
                              Motions
                              ______________________________________________
       Proceeding Date:       ______________________________________________
                              8/24/23
                              ______________________________________________
       Volume Number:         ______________________________________________
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      Notice is hereby given that financial arrangements for a copy of the transcript have been
made with the following individual(s): Marcos Mocine-McQueen

_____________________________________________________________________________
as counsel/party in this case. He/She is to be provided with remote access to the transcript via
CM/ECF and PACER.

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                 10/20/2023               $/,&,$%%$*/(<505&55
                                          __________________________________
                        Date                           Court Reporter
